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                                                          1           FILED
                       IN THE UNITED STATES DISTRICT CCjURTr
                   FOR THE EASTERN DISTRICT OF VIRGINIJA           APR 2 2 2019
                              NORFOLK DIVISION
                                                              CLERK, U.S. DISTRICT COURT
                                                                    NORFOLK. VA
UNITED STATES OF AMERICA


                                         case NO. cJ->qfT\)a3H
                                         Court Date:    May 6, 2019
BRIAN T. KENNEY


                             CRIMINAL INFORMATION


                                  COUNT ONE
                  (Misdemeanor)- Violation Notice No. 6882556

      THE UNITED STATES ATTORNEY CHARGES:


      That on or about March 1, 2019, at Dam Neck Annex, Virginia Beach,

Virginia, in the Eastern District of Virginia, the defendant, BRIAN T.

KENNEY, did unlawfully possess or cause to be present firearms in a federal

facility.

      (In violation of Title 18, United States Code, Section 930).

                                  COUNT TWO
                                (Misdemeanor)

      THE UNITED STATES ATTORNEY CHARGES:


      That on or about March 1, 2019, at Dam Neck Annex, Virginia Beach,

Virginia, in the Eastern District of Virginia, the defendant, BRIAN T.

KENNEY, did willfully violate a defense property security regulation: Chief

of Naval Operations Instruction 5530.14E, to wit:   Transporting and

introducing firearms onboard a United States Navy installation without proper

authorization.


      (In violation of Title 50, United States Code, Section 797 and Chief of
Naval Operations Instruction 5530.14E).
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                                    COUNT THREE
                                  (Petty Offense)

      THE UNITED STATES ATTORNEY CHARGES:


      That on or about March 1, 2019, at Dam Neck Annex, Virginia Beach,

Virginia, in and on federal property in the Eastern District of Virginia, the

defendant, BRIAN T. KENNEY, did fail to comply with official signs of a

prohibitory, regulatory, or directory nature.

      (In violation of Title 41, Code of Federal Regulations, Section 102-
74.385).

                                      Respectfully submitted,

                                      G. Zachary Terwilliger
                                      United States Attorney


                            By:              I CL
                                      lames T. Cole
                                     /Special Assistant U.S. Attorney
                                      U.S. Attorney's Office
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                                      Norfolk, VA 23510
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                                      Fax: (757) 441-3205
                                      James.Colegusdoj.gov



                           CERTIFICATE OF MAILING


I hereby certify that on the date indicated below, I caused a true and correct
copy of the foregoing Criminal Information to be mailed, postage prepaid, to
the defendant in the above-styled case.



                                     J
                              James T. Cole
                                             a
                             Special Assistant U. S. Attorney
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                             Date        1
